          Case 1:14-cr-10276-IT Document 523 Filed 08/08/18 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                     )
                                              )
            v.                               )        CRIMINAL NO. 14-10276-IT
                                              )
                                              )
JOHN CRANNEY                                 )
   Defendant                                 )

          DEFENDANT’S SUPPLEMENTAL SENTENCING MEMORANDUM

       Now comes, John Cranney, who respectfully files this Supplemental Sentencing

Memorandum in response to the letter filed from the BOP stating it has the capacity to treat a

complicated patient like Mr. Cranney. In support the defendant states the following:

        1. The government asserts that the Bureau of Prisons is capable of handling Mr.

Cranney as a patient despite his complicated and clearly deteriorating health.

2. The defense disagrees. See U.S. Dep’t of Justice, Office of the Inspector General Evaluation

and Inspections Division, Review of the Federal Bureau of Prisons’ Medical Staffing

Challenges (March 2016), available at https://oig.justice.gov/reports/2016/e1602.pdf. The

report, released in March of 2016, found serious problems in understaffing, resulting in limited

access to medical care for inmates. Id. at i. They also found problems in recruiting and retaining

quality medical professionals because of the low pay offered by the BOP to medical

professionals. Id. Overall, the BOP’s total medical staff was 17 percent less than what is

considered necessary to provide inmates with ideal care. Id. at 1. Some institutions were

medically staffed at only 71 percent or below, which even the BOP describes as “crisis

level.” Id. Furthermore, a 2008 audit by the Office of the Inspector General found systemic

deficiencies in Bureau of Prison’s (BOP) delivery of health services. It found that at a number

of institutions, BOP did not provide required medical services to inmates, including inadequate

treatment for chronic conditions, failure to properly monitor side effects of medications,
                                                  1
              Case 1:14-cr-10276-IT Document 523 Filed 08/08/18 Page 2 of 3



    allowing unqualified providers to render medical services, and failure to meet performance

    target levels on treatment of serious conditions. See U.S. Dep’t of Justice, Office of the

    Inspector General Audit Division, The Federal Bureau of Prisons Efforts to Manage Inmate

    Health Care, ii-xix, 32-34 (2008), available

    at http://www.justice.gov/oig/reports/BOP/a0808/final.pdf.

         2. While the defense understands hope springs eternal, it is highly doubtful that the

    BOP’s medical deficiencies 1 have improved over the last two years under the present

    administration and government where the budget was barely $7.1 billion or barely $300 million

    more than their 2014 budget. See https://www.justice.gov/jmd/page/file/1033161/download. 2

    Because the Court must take into account the need for medical care when determining a

    sentence, a sentence of house arrest as a substitute to imprisonment is really the only sentence

    that is “sufficient, but not greater than necessary” to comply with the purposes of sentencing.



                                                          Submitted By
                                                          John Cranney’s Attorney

                                                          /s James Budreau
                                                          James Budreau, Bar# 559931
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1
  A good example of the BOP’s incapacity to manage high risk patients is cogently displayed in
United States v. Michael Russo, 06CR 10415-NMG, who was sentenced in 2019 to prison for 15
years despite needing a liver transplant. Mr. Russo fled because he did not believe the BOP would
give him a liver transplant while incarcerated despite being on the transplant list at a nearby
nonprison Massachusetts hospital. See Sentencing Memo, Document 43. See Motion to Vacate in
U.S. v. Russo. Document # 46. Mr. Russo complained in August 2011 that he had not even been
seen by the medical staff and that the BOP was ignoring the Court’s instruction that he get
adequate care. Document 57. Not surprisingly, he never got a transplant or even marginal care
while incarcerated and died on December 11, 2012. See Document 63. This is the same BOP that
the U.S. Attorney’s Office believes is prepared to handle Mr. Cranney’s care.
2
  The BOP budget was $6.8 billion in 2014 and has risen to a measly $7.1 billion in 2018. That
increase is actually a cut as it does not even keep up with inflation.
https://oig.justice.gov/reports/2016/e1602.pdf
                                                     2
           Case 1:14-cr-10276-IT Document 523 Filed 08/08/18 Page 3 of 3




        I hereby certify that I served a copy of this motion through the ECF system which was sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on the 8th day of
August 2018.

       I have given the following nonregistered participants notice of this filing by email: none


                                      /s/ James Budreau
                                      JAMES BUDREAU BBO# 553391
                                      20 Park Plaza, Suite 1405
                                      Boston, MA 02116




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